Case 2:04-cr-20247-SH|\/| Document 45 Filed 06/30/05 Page 1 of 5 Page|D 55

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u m M. BOL|_D
»v- 04-20247-01-Ma G~E§%%§ §§&CLTMUT
MARCUS MCK|NNIE

Ma Catherine J rmann FPD
Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February17,2005. According|y, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section MQM Ottense N_umtg(s_.)
Concluded
18 U.S.C. § 922(g) Fe|on in possession of a firearm 10/02/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the N|andatory
Victims Fiestitution Act of 1996.

lT lS FUF\THEF{ ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 02/27/1981 June 24, 2005
Deft’s U.S. l\/larsha| No.: 17555-076

Defendant's Fiesidence Address:
2857 Leafy Ho|low, # 3
Memphis, Tl\l 38127

yl/M”L

SA|V|UEL H. N|AYS, JFt.
UN|TED STATES D|STR|CT JUDGE

3d

 

June , 2005

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Case No: 04-20247-01-N|a
Defendant Name: N|arcus Nici<innie Page 2 of 4

|MPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of thirty-seven (37) months, which shall run concurrent
with defendant’s undischarged sentence in case number 00-20216-0.
The Court recommends to the Bureau of Prisons:

That defendant participate in the 500 hour drug rehabilitation program;

That defendant be designated to serve his term of imprisonment at a facility closest
to Memphis, Tennessee.

The defendant is remanded to the custody of the United States Niarshai.

RETURN

i have executed this judgment as foiiows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES NlAFtSHAL
By:

 

Deputy U.S. Niarshai

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Case No: 04-20247-01-Ma
Defendant Name: Marcus NicKinnie Page 3 of 4

SUPEF{V|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term
of two (2) years.

The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit anotherfederal, state or local
crime and shall not possess a firearm, ammunitlcn, or destructive device as defined in 18 U.S.C.
§ 921 .

The defendant shall refrain from any unlawful use of acontrolled substance The defendant
shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been adopted
by this court.

STANDARD COND|T|ONS OF SUPERV|S\ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within t‘ne first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 04-20247-01-Nia
Defendant Name: Marcus McKinnie Page 4 of 4

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penaltles sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised reisase:

1 . The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the
Probation Officer for treatment of narcotic addiction or drug or alcohol dependency which may include
testing for the detection of substance use or abuse. Further, the defendant shall be required to
contribute to the costs of services for such treatment not to exceed an amount determined reasonable
by the Probation Officer.

2. The defendant shall seek and maintain lawful full-time employment.

3. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Paymentsl The defendant shall pay interest
on anyfine or restitution of more than $2,500, unless the fine or restitution is paid in fuil before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). Ali of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3812(g).

Totai Assessment Totai Fine Totai Restitution

$100.00

 

 

The Speciai Assessment shall be due immediatelyl

F|NE
No fine imposed

REST|TUT|ON
No Ftestitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:04-CR-20247 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

